      Case2:13-cr-00018-JCM-GWF
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 5
      Attorney for Defendant LEON BENZER
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10
      UNITED STATES OF AMERICA,                      )       2:13-cr-0018-JCM-GWF
11                                                   )       2:13-cr-0174-JAD-CWH
                     Plaintiff,                      )
12                                                   )
      v.                                             )       STIPULATION TO CONTINUE
13                                                   )       THE TIME WITHIN WHICH TO
      LEON BENZER,                                   )       FILE THE OBJECTIONS TO THE
14                                                   )       PRESENTENCE INVESTIGATION
                     Defendant.                      )       REPORT AND SENTENCING
15                                                   )       MEMORANDUM
16           IT IS HEREBY STIPULATED AND AGREED, by and between Andrew Weissmann,
17    Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and Charles La Bella, Deputy
18    Chief, counsel for the United States of America, and Daniel J. Albregts, Esq., counsel for defendant
19    LEON BENZER, that the time within which to file the objections to the Presentence Investigation
20    Report and Sentencing Memorandum from Thursday, July 30, 2015 to Monday, August 3, 2015.
21           This stipulation is entered into for the following reasons:
22           1. As alluded to in budgeting documents submitted to the Court, there was a distinct division
23    of labor between co-counsel for Benzer. Specifically, attorney Franny Forsman was assigned the
24    task of preparing and writing the sentencing memorandum in anticipation of the sentencing hearing.
25    Thus, Ms. Forsman has focused her attention on this task while attorney Albregts has been preparing
26    other matters related to the sentencing hearing.
27           2. On Sunday, July 26, 2015 Ms. Forsman’s father passed away. Ms. Forsman was the only
28    remaining relative of her father who could deal with the coroner and other issues related to his death.
      As a result, Ms. Forsman had to travel to Northern California and was unable to work on the
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 1    sentencing memorandum during this time.

 2           3. Ms. Forsman has returned to Las Vegas and continues to diligently work on the sentencing

 3    memorandum. However, as a result of her father’s death and responsibilities related to that, she is

 4    unable to complete the sentencing memorandum and have it filed by the currently scheduled date of

 5    Thursday, July 30, 2015.

 6           4. This brief continuance will allow the defense sufficient time to adequately prepare and

 7    file the defendant’s objections to the Presentence Investigation Report and the sentencing

 8    memorandum while allowing the sentencing to occur on the currently scheduled date.

 9           5. Failure to grant this request could result in a miscarriage of justice. Further, this request

10    is not made for the purposes of delay but is simply made as a result of the unforeseeable death of Ms.

11    Forsman’s father and the work attendant to deal with that situation.

12           6. Defense counsel has spoken with government counsel and outlined some of the issues

13    which will be raised in the sentencing memorandum so that government counsel is at least aware of

14    issues that will be raised. They therefore should have adequate time to prepare to address the issues

15    raised in the sentencing memorandum at the time of the currently scheduled sentencing hearing.

16           DATED this 30th day of July, 2015.

17    ANDREW WEISSMANN                                       DANIEL J. ALBREGTS, LTD.
      Chief, U.S. Department of Justice
18    Fraud Section, Criminal Division

19
      /s/ Charles La Bella                                   /s/ Daniel J. Albregts
20    CHARLES LA BELLA                                       DANIEL J. ALBREGTS, ESQ.
      Deputy Chief, U.S. Dept. Of Justice                    Counsel for Defendant BENZER
21    Criminal Division, Fraud Section

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                                  UNITED STATES DISTRICT COURT
 4
                                         DISTRICT OF NEVADA
 5
 6    UNITED STATES OF AMERICA,                   ) 2:13-cr-0018-JCM-GWF
                                                  )
 7                  Plaintiff,                    )
                                                  )
 8    v.                                          )
                                                  )
 9    LEON BENZER,                                )
                                                  )
10                  Defendant.                    )
                                                  )
11
                                                 ORDER
12
             Based upon the attached Stipulation of the parties, and good cause appearing,
13
             IT IS THEREFORE ORDERED that defendant Benzer shall have until Monday, August
14
      3, 2015 within which to file objections to the Presentence Investigation Report and Sentencing
15
      Memorandum.
16
                   July____
             DATED this 30, 2015.
                            day of July, 2015.
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                                                  UNITED STATES DISTRICT JUDGE
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